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FILED
UNITED STATES DISTRICT odurh is DIR Rio? i Gourr
EASTERN DISTRICT OF LOUISLARA,, Pia

CIVIL ACTION NO. 2:05 H? Dens rm i

. 2:05-cv-6514 LepK ITE

VIRGINIA NADINE PERRY

VS. ORDER

MERCK & ©OO., INC. DEFENDANT
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This matter being before the Court by motion of the Hon. Jane R. Butcher, and
the Court being sufficiently advised in the premises,

IT IS HEREBY ORDERED AND ADJUDGED that the Hon. Jane R.
Butcher be and hereby is allowed to withdraw as counsel of record for the Plaintiff,
Virginia Nadine Perry, in the above style matter.

DATED this _!A* dayof__ 5. eptebe , 2006.

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JUDGE ELDON E. FALLON
UNITED STATES DISTRICT COURT

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me FOR
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